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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Mon Cheri Bridals, LLC                         )
                                               )
v.                                             )      Case No.      19-cv-2362
                                               )
Does 1-464                                     )      Judge:        Hon. Jorge L. Alonso
                                               )
                                               )      Magistrate:   Hon. Young B. Kim
                                               )


                            SATISFACTION OF JUDGEMENT

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe          Store Name   Store ID
 110          Susan Choice A25LE395D6YL95


dismisses them from the suit with prejudice.

Dated this 27th Day of August, 2019.           Respectfully submitted,


                                               By:      s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record
                                                      Counsel for Plaintiff

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